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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                         FORT MYERS DIVISION


DOREEN PRICE, individually and
On behalf of all others similarly situated

Plaintiff,


V.                                               Case No: __________________

GO FLORIDA INVESTMENTS INC.,
d/b/a Roelens Vacation Rentals and
Management, Roelens Vacations, and Roelens
Realty and Project Management, and
KOEN ROELENS,

Defendants.
___________________________________.

     FLSA SECTION 216B COLLECTIVE ACTION COMPLAINT AND
                    DEMAND FOR JURY TRIAL

       Plaintiff, DOREEN PRICE, individually, and on behalf of all others

similarly situated, who consent to their inclusion in this collective action, bring this

lawsuit pursuant to §216(b) of the Fair Labor Standards Act (“FLSA”), against

Defendants, GO FLORIDA INVESTMENTS INC., d/b/a Roelens Vacation

Rentals and Management, Roelens Vacations, and Roelens Realty and Project

Management, and KOEN ROELENS (hereinafter collectively referred to as




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“Defendants” or “Roelens”) for violations of the Fair Labor Standards Act, 29

U.S.C. §201 et. seq. for failure to pay overtime compensation and a premium for

all hours worked over forty (40) each week.

                               INTRODUCTION

      1.    The Fair Labor Standards Act is our nation’s foremost wage law. The

overtime requirements of the FLSA were designed to eliminate “labor conditions

detrimental to the maintenance of the minimum standard of living necessary for

health, efficiency, and general well-being of workers...” 29 U.S.C. § 202(a). To

achieve its goals, the FLSA sets minimum wage and overtime pay requirements for

covered employers. 29 U.S.C. §§ 206(a) and 207(a). It requires minimum wage

and overtime pay for certain non-exempt employees. 29 U.S.C. §213.

      2.    Plaintiff, Doreen Price (“Price” or “Plaintiff”) worked for Defendants

from approximately January, 2022 until December 2022 as Property Manager.

      3.    Throughout Plaintiff's employment she was not paid a premium for

overtime hours worked and was paid on a salary basis and she was subjected to

numerous unlawful pay practices including being permitted to suffer to work off

the clock and being misclassified from overtime pay.

      4.    Defendants have maintained a scheme to avoid its obligations to pay

overtime wages to its entire office staff and employees in order to save hundreds of


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thousands of dollars in labor costs each year and maximize profits all to the

detriment of its employees.

         5.   Defendants mandate and require overtime hours of Plaintiff and

numerous similarly situated employees but without paying overtime premiums;

instead reaping the financial rewards and benefits of this extra, unpaid overtime

work hours of Plaintiff and all others similarly situated.

         6.   Defendants also discourage and take actions to dissuade, mislead, and

prevent full and accurate reporting of all work hours for all hours worked, and

never provided any time clock, time tracking system or program, or procedure for

reporting or recording work hours.

         7.   Plaintiff, like her fellow property managers and misclassified

employees who comprise this putative Class, she routinely worked at upwards of

10 plus hours each day and even 6 and 7 days a week, and thus more than 40 hours

each week routinely, including expected and required to work “on call” all other

times.

         8.   All property managers, irrespective of the number of hours worked in

any day or any work week, were paid a salary only and no premiums for overtime

hours worked.




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      9.     Defendants willfully violated the FLSA by refusing to pay a premium

or any additional pay for overtime hours they knew of, and hours they should have

known were worked by Plaintiff and all other similarly situated property managers.

      10.    Plaintiff, like her fellow Property Managers (hereinafter “PM”) in the

past three (3) years preceding the filing of this complaint, and still to this day, were

systematically denied overtime pay for all hours they worked in excess of forty

(40) on behalf of Defendants.

      11.    Defendants maintained a common unlawful pay practice applicable to

all persons employed as property managers, discouraging and misleading Plaintiff

and the class of similarly situated from recording or reporting all hours worked as

they were classified as salaried employees and Defendant did not require or utilize

any time tracking system or program.

      12.    Accordingly, Plaintiff, individually, and on behalf of all others

similarly situated who consent to their inclusion in this collective action, sue

Defendants for violations of the Fair Labor Standards Act for: (1) failing to pay the

Plaintiff and others similarly situated overtime compensation; and (2) failing to

maintain and preserve accurate and true records of all hours worked.

             FLSA CLASS DEFINITION AND RELIEF SOUGHT




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      13.    This collective action is to recover from Defendants overtime

compensation, liquidated damages, prejudgment interest, and the costs and

reasonable attorney’s fees under 29 U.S.C. §216(b) on behalf of the Plaintiff and

all similarly situated persons composed of:

      All persons employed by or performing work for Go Florida
      Investments Inc., d/b/a Roelens Vacation Rentals and Management or
      Roelens Realty and Property Management as property managers, or
      any other titles used to describe persons performing similarly job
      requirements at any time within the three (3) years preceding this
      lawsuit to the day of trial.

                          JURISDICTION AND VENUE

      13.    This Court has original subject matter jurisdiction over this action

pursuant to 28 U.S.C. §1331, since this action involves a federal question under the

Fair Labor Standards Act, 29 U.S.C. §§201-219, inclusive.

      14.    This Court has personal jurisdiction over this action because the

Defendants are engaged in business within the State of Florida and also live and

domicile in this state.

      15.    Venue is proper in the Middle District of Florida pursuant to 28

U.S.C. §1391(b) since the acts complained of herein took place in this District, this

is the home District where Defendants maintain a local and corporate office from

where Plaintiff reported to for work. In addition, Defendants’ corporate offices



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located in Cape Coral, Florida are likewise within this district and from where the

unlawful policies and practices complained of herein were created, carried out, and

enforced.

      16.    Upon information and belief, Defendant Go Florida Investments Inc.

has revenues of $500,000.00 or more in the previous three (3) years and employs

ten (10) or more employees.

      17.    At all relevant times, Defendants have been, and continue to be, an

employer engaged in interstate commerce and/or the production of goods for

commerce, within the meaning of FLSA 29 U.S.C. §§206(a) and 207(a).

                                  THE PARTIES

      18.    At all times relevant to this action, Representative Plaintiff Doreen

Price resided in Florida, and within this district, and at all times material, worked

for Defendants as a Property Manager.

      19.    Plaintiff worked for Defendants in this position for approximately 1

year and 4 months, working from or reporting to the Defendant’s corporate office

in Cape Coral, Florida.

      20.    Plaintiff was paid a base salary of $40,000, but Defendant did not

track and record her work hours, and never discussed the FLSA or overtime wage

laws or the payment of premiums for overtime hours worked.



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      21.    Plaintiff was just paid this flat salary regardless of the number of

hours over 40 she worked each week, and was paid some limited and minimal

discretionary bonus that all property managers were eligible for.

      22.    Defendant Koen Roelens is an employer as defined by 29 USC section

203d, as Koen Roelens is directly involved in decisions affecting employee

compensation and hours worked by the Plaintiff and all other similarly-situated

present and former employees. Defendant Koen Roelens also directed the work

and the day-to-day work activities that the Plaintiff and all others similarly situated

had to follow, created the unlawful pay practices alleged here, and enforced those

pay practices.

      23.    Defendant, Go Florida Investments Inc. (GFII) is a Florida, for profit

corporation with a principal place of business in Cape Coral, Florida located at

1404 Del Prado Blvd. S, Unit #110, Cape Coral, Florida 33990. Defendant may

be served through its registered agent, owner and CEO, Koen Roelens at the same

address. At all times material, Defendant GFII operated under numerous fictitious

business names including:      Roelens Vacations, Roelens Vacation Rentals and

Management and ReolensyI’m Realty and Project Management.

      24.    Defendant Koen Roelens, is the CEO of GFII and upon information

and belief is the majority or sole shareholder of Go Florida Investments Inc.. Koen



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Roelens is a resident of Florida and subject to the personal jurisdiction of this court

with a home address of 1906 SE 10th Place, Cape Coral, Florida 33990.

      25.    Defendant Koen Roelens also created, instituted and maintained the

unlawful pay practices and schemes complained of herein, and was in charge of the

day to day management of the company throughout the preceding 3 years to the

present.

      26.    Defendants Koen Roelens and GFII jointly own and do business under

the numerous Florida registered fictitious business names and operate or manage

numerous rental properties and vacation properties throughout Florida where

similarly situated present and former employees worked from or reported to.

      27.    As per Defendants’ website, www.roelensvacations.com, Defendants

operate, or manage homes in at least 14 different cities or geographic regions

throughout the State of Florida, within the relevant three-year class period.

      28.    Defendants boast on their website managing 250 homes in the Cape

Coral area alone and employing 25 persons.

      29.    During the relevant 3 year class period Defendants, upon information

and belief, at certain times employed upwards of 10 property managers at any

given time, all of whom were paid on a salary basis and misclassified as exempt

regardless of any individualized job or duties analysis.



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                    GENERAL FACTUAL ALLEGATIONS

      30.    Plaintiff, like all other property managers was paid on a salary basis,

and eligible for some small, discretionary bonus.

      31.    The Defendants scheme to violate the FLSA and the backbone of their

unlawful pay practice was to classify all office worker employees as salaried

exempt employees, including Program Managers, while concurrently misleading

them through false statements and misinformation that they were not entitled to

overtime premiums and that the company was complying with the FLSA.

      32.    Plaintiff Price did not supervise 2 or more full time employees, and

neither did any of the other PM Plaintiff seeks to represent in this action; thus all

fail any application of the executive exemption.

      33.    Plaintiff’s primary duties and responsibilities were office related

administrative tasks which were routine, and lacked any authority or discretion to

make decisions which bind the company or create, modify or institute company

policies.

      34.    Moreover, Plaintiff had no discretion or authority to hire, fire or

discipline any other employees, nor was she involved with any decisions on hiring

or interviewing new employee candidates, or firing or disciplining or setting the

compensation rates of any employees.



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      35.    In July 2022, Defendant made a representation to Plaintiff and all

other office staff employees that they were now being classified as “salaried

exempt employees”, as if prior to that announcement they were classified as

salaried non-exempt.

      36.    Thus, in the alternative, Plaintiff pleads and claims that Defendant just

willfully refused to pay overtime premiums to her and all others similarly situated

when they were classified as salaried non-exempt prior to July 2022, and despite

knowledge that she other PM were working greater than 40 hours routinely during

their workweeks.

      37.    Defendants willfully engaged in a scheme to avoid paying overtime

wages by discouraging reporting of work hours and by factual misrepresentations

and omissions and other misleading statements about the FLSA compliance with

the FLSA or eligibility for overtime pay.

      38.    Plaintiff is not a licensed, educated or degreed professional, or real

estate broker, and no such degree, education, diploma, license or certification was

required for a plaintiff to be hired in the position of property manager.

      39.    Further, the properties involved are mere single family homes which

are marketed and offered to the public as vacation homes, like AIRBNB for

instance, not apartment complexes, multi unit buildings, or commercial buildings.



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        40.   Defendants treat all PM the same in all respects as to compensation

and pay policies, and the assignment of work for all properties/ homes locations in

a single, unified and standardized position with identical job duties and

responsibilities, aka, job requirements.

        41.    Plaintiff is neither by any educational requirement, licensure, or

certification, a property manager, and upon information and belief, none of the

people filling these positions are required to be licensed, educated, certified or

degreed property managers.

        42.   Throughout Plaintiff's employment as an Property Manager, she

routinely was required to work in excess of 40 hours per week without being paid

or compensated any premium pay for said hours.

        43.   In order to complete the work and job requirements including

responding to vacationer needs, and property owner needs, Plaintiff Price routinely

had to work more than 8 hours in each day and more than 40 hours routinely each

week.

        44.   Plaintiff also was expected and required to be “on call” and handle

phone calls, emails, text messages from the property (home) owners, vacationers,

and from other clearing and maintenance employees and workers , outside business




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hours and he scheduled 40 hours, including evenings and weekends, and her days

off.

       45.   Defendants did not have the Plaintiff or all other PM clock in and out

her actual work hours.

       46.   Plaintiff was misled by management to believe that she was not

entitled to be paid overtime premiums, and thus their company pay practices and

instructions against reporting her actual hours worked was of no consequence or

concern, as she knew that she was not going to be paid for this time and relied

upon Defendants representations and actions that they were in compliance with the

FLSA..

       47.   Plaintiff’s   managers/supervisors,     including   Defendant   Roelens

himself, knew she and the other PM worked more hours than had to work more

than 40 hours routinely each week to keep up with all their job requirements,

including the on-call work.

       48.   Thus Defendants knew that it was violating the time keeping

requirements of the FLSA and the regulations found at 39 CFR Part 516 before

theyWe announced that everyone was now salaried exempt employees, as well as

violating the overtime pay requirements of the FLSA.




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         49.        Plaintiff’s managers/supervisors and Defendant Roelens knew that

Plaintiff and other PM as well were routinely working more than 40 hours in a

week, including working in evenings, days off and and weekends and beyond the

standardized corporate 8 hour schedule work days.

         50.        Plaintiff accepted representations from management that its pay

practices were lawful and that she was not entitled to be paid overtime premiums,

until Plaintiff learned about the related lawsuit of Moore v. Go Florida

Investments Inc., CASE NO 2:23-cv-00017-SPC-NPM.

         51.        Defendants have for many years maintained a scheme to avoid paying

and violate the overtime wage requirements and obligations of the FLSA by

willfully misclassifying all PM as exempt and alternatively misleading all PM to

believe that simply by paying them a salary they were exempt and not entitled to

overtime premiums.

         52.        Defendants are also no stranger to willfully violating the FLSA, as

they are also the subject of another FLSA action for similar pay violations in the

matter         of     Hill   v.   Go     Florida          Investments   Inc.,   Case   No.

2:23-cv-00053-SPC-KCD, and Moore v. Go Florida Investments Inc., CASE NO

2:23-cv-00017-SPC-NPM.




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      53.    For purposes of the collective action, Plaintiff Price by this

Complaint, gives her written consent to be a party to this action pursuant to 29

U.S.C. §216(b).

      54.    At all times relevant to this action, Defendants were an employer of

Plaintiff and all other laborers and piece rate pay workers of this proposed FLSA

collective action within the meaning of 29 U.S.C. §203(g).

                   COLLECTIVE ACTION ALLEGATIONS

      55.    Plaintiff brings this action individually and on behalf of all others

similarly situated who worked as property managers or persons who performed

similar roles or jobs under any other title as a collective action pursuant to the Fair

Labor Standards Act. 29 USC §216(b).

      56.    Plaintiff believes that there are 100 to 200 or more individuals in the

defined class within the three (3) year relevant class period.

      57.    Plaintiff will fairly and adequately protect the interests of the putative

Class of similarly situated piece rate workers, and has retained counsel that is

experienced and competent in class/collective actions and employment litigation.

Plaintiff has no interest that is contrary to, or in conflict with, members of the

putative Class.




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      58.     A collective action suit, such as the instant one, is superior to other

available means for a fair and efficient adjudication of this lawsuit. The damages

suffered by individual members of the Class may be relatively small when

compared to the expense and burden of litigation, making it virtually impossible

for members of the Class to individually seek redress for the wrongs done to them.

      59.     A collective action is, therefore, superior to other available methods

for the fair and efficient adjudication of the controversy. Absent these actions, the

members of the Class likely will not obtain redress of their injuries and Defendants

will retain the proceeds from its violations of the FLSA.

      60.     Furthermore, even if any member of the Class could afford individual

litigation against the Defendants, it would be unduly burdensome to the judicial

system.     The instant methodology, when compared to voluminous individual

actions, has fewer management difficulties and provides the benefits of unitary

adjudication, economies of scale, and comprehensive supervision by a single court.

Concentrating this litigation in one forum will promote judicial economy and

parity among the claims of individual members of the Class and provide for

judicial consistency.




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      61.    Plaintiff knows of no difficulty that will be encountered in the

management of this litigation that would preclude its continued maintenance as a

collective action.

                        COUNT I
 FAILURE TO MAINTAIN TRUE & ACCURATE RECORDS OF HOURS
                        WORKED

      62.    Plaintiff adopts and re-alleges the foregoing paragraphs as if fully

asserted herein.

      63.    All employers subject to the FLSA must maintain and preserve certain

records describing the wages, hours and working conditions of their employees.

      64.    Evidence reflecting the precise number of overtime hours worked by

Plaintiff and every member of the Class, as well as the applicable compensation

rates, is in the possession of Defendants.

      65.    However, and to the extent records are unavailable, Plaintiff and

members of the Class may establish the hours they worked solely by their

testimony and the burden of overcoming such testimony shifts to the employer.

Anderson v. Mt. Clemens Pottery Co., 328 U.S. 680 (1946).

      66.    With respect to an employee subject to the FLSA provisions, the

following records must be kept:




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            a Personal information, including employee's name, home address,

                occupation, sex, and birth date if under nineteen (19) years of age;

            b Hour and day when workweek begins;

            c Regular hourly pay rate for any week when overtime is worked;

            d Total hours worked each workday and each workweek;

            e Total daily or weekly straight-time earnings;

            f   Total overtime pay for the workweek;

            g Deductions from or additions to wages;

            h Total wages paid each pay period; and

            i   Date of payment and pay period covered

      67.   Failure to comply with the recordkeeping requirements is a violation

of the FLSA for which criminal or civil sanctions may be imposed, whether or not

other statutory violations exist. See, 29 U.S.C. §215(a)(5); See also, Dunlop v.

Gray-Goto, Inc., 528 F.2d 792 (10th Cir. 1976).

      68.   Accurate records are not only required for regulatory purposes, they

are critical to an employer's defense of claims that it violated the FLSA. An

employer that fails to maintain the required records cannot avoid liability in a

wage-hour case through argument that there is insufficient evidence of the claimed

hours worked. See Wirtz v. First State Abstract Ins. Co., 362 F.2d 83 (8th Cir.



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1966); Boekemeier v. Fourth Universalist Soc'y, 86 F. Supp. 2d 280 (S.D.N.Y.

2000).

      69.      An employer's failure to maintain records may create a presumption in

the aggrieved employee's favor. See Myers v. The Copper Cellar Corp., 192 F.3d

546, 551 n.9 (7th Cir. 1999), citing Anderson v. Mt. Clemens Pottery Co., 328 U.S.

680 (1946).

      70.      Defendants have failed to accurately record, track and report the

Plaintiff’s work hours, and for all others similarly situated as required under the

FLSA and its regulations.

      71.      Defendants have failed to make, keep and preserve records, with

respect to each of its employees records sufficient to determine the wages, hours

and other conditions and practices of employment in violation of 29 CFR §516.2

and 29 U.S.C. §§211, 216 and related laws.

      72.      Plaintiff thus may establish the amount of unpaid overtime hours due

to her by her estimation and testimony.

      73.      Defendants otherwise then have the burden to prove the actual and

precise hours worked by Plaintiff and all other similarly situated who opt into this

action pursuant to the US Supreme court’s Holding in Anderson v. Mt. Clemens

Pottery Inc.



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                              COUNT II
                    VIOLATION OF § 207 OF THE FLSA

      74.   Paragraphs 1-61 are realleged and incorporated as if fully set forth

herein.

      75.   At all relevant times, Defendants employed Plaintiff, and/or each

member of the Putative Class of similarly situated, and continues to employ

members of the Putative Class, within the meaning of the FLSA.

      76.   Upon information and belief, all PM were paid under a common and

similar compensation plan and scheme, comprised of a base salary, and some

discretionary bonus, and irrespective of the number of hours they worked.

      77.   Defendants’ management and Defendant Roelens is well aware that

Plaintiff and the PM job, including all other persons working as PM, routinely

worked more than 8 full compensable work hours in a day, and more than 40 hours

routinely each week in order to handle and keep up with the job requirements.

      78.   Plaintiff and all other PMs were encouraged to work as many hours as

necessary to keep up with their job requirements, including working on call during

evenings and weekends, and on days off.




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      79.    Defendants made it clear to Plaintiff they expected her to work more

than 40 hours each week, and without any premiums for the overtime hours

worked.

      80.    Defendants do not instruct, order or command employees to leave at

the end of their shift time, nor do they prohibit employees from performing work

activities they know piece rate workers are engaging in on behalf of Defendants in

the evenings and on weekends.

      81.    As a result of Defendants’ unlawful pay practices complained of

herein, throughout the three (3) year class period to the present, Defendants have

willfully stolen hundreds of thousands of dollars or more in wages from its

employees.

      82.    Defendants knowingly and willfully failed to pay Plaintiff and all

other members of the Class, overtime compensation at the appropriate legal rate for

all hours they performed work on behalf of Defendants above and beyond forty

(40) hours per workweek in violation of the FLSA, in particular 29 U.S.C. § 207.

      83.    The foregoing conduct, as alleged, constitutes a willful violation of

the FLSA within the meaning of 29 U.S.C. §255(a).




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      84.   Defendants are well aware that in order to meet goals, job completion

times and to complete and perform their job duties to the expectations of

Defendants, PM must work more than forty (40) hours in a workweek routinely.

      85.   Defendants engaged in a scheme to avoid paying overtime wages by

misclassifying the PM position as exempt, and by misleading Plaintiff and other

PM that by paying them a salary they were exempt or that they otherwise met some

exemption under the FLSA which precluded their entitlement to overtime pay.

      86.   Any questions about the Defendants’ pay practices and refusal to pay

overtime wages was ignored, or resulted in misleading statements about the FLSA.

      87.   Defendants knew that the job requirements assigned to PM would

result in these employees working more than forty (40) hours routinely in order to

meet goals, job and work requirements and respond to the property owners and

vacationers and other employees cleaning the properties or homes.

      88.   Defendants willfully failed and refused to pay Plaintiff and all other

similarly PM a premium for all overtime hours worked.

      89.   Defendants cannot and do not have a good faith basis under the FLSA

for its willful actions and conduct of refusing and failing to pay Plaintiff and all

similarly situated workers lawful rates for all overtime hours worked over 40 hours

in each and every workweek.



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      90.    Plaintiff and the class of similarly situated thus are entitled to, and

should be awarded liquidated damages of an equal sum of the overtime wages

awarded or recovered for a period of three (3) years preceding the filing of this

action to the present and continuing.

      91.    Due to Defendants’ willful FLSA violations, Plaintiff alleges on

behalf of the members of the Class that they have suffered damages and are

entitled to recover from Defendants the unpaid overtime compensation due and

owing for all hours worked in excess of forty (40) in each and every workweek,

plus an equal sum as liquidated damages, prejudgment interest, reasonable

attorneys’ fees, costs and disbursements of this action, pursuant to 29 U.S.C.

§216(b).

      92.    Plaintiff and the class of similarly situated have suffered financial

harm and loss of monies owed to them as a direct and proximate result of

Defendants’ unlawful pay practices complained of herein.

      WHEREFORE Plaintiff, DOREEN PRICE, individually and behalf of all

others similarly situated prays for:


      a.     An order designating this action as a collective action and issuance of

             notice pursuant to 29 U.S.C. §216(b) to all similarly situated




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           individuals across the nation with instructions to permit them to assert

           timely FLSA claims in this action by filing individual Consents to

           Join this action as plaintiffs pursuant to §216(b); and that notice be

           sent to all past and present employees of GO FLORIDA

           INVESTMENTS INC. any time during the three (3) year period

           immediately preceding the filing of this suit, through and including

           the date of this Court's issuance of the Court Supervised Notice;

     b.    An order awarding attorneys’ fees and costs pursuant to §216 of the

           FLSA;

     c.    That the Court find Defendants in violation of the overtime

           compensation provision of the FLSA and that the Court find that

           Defendants’ violations of the FLSA were and are willful;

     d.    That the Court award Plaintiff Thompson and the putative Class of all

           similarly situated employees overtime compensation for all the

           previous hours worked over forty (40) hours in each and every

           workweek at correct and lawful rate of pay during the past three (3)

           years, AND an equal sum in liquidated damages. In addition, interest

           on said award pursuant to §216 of the FLSA;




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      e.     That the Court appoint Mitchell Feldman, Esq. and the firm of

             Feldman Legal Group as class counsel in the FLSA collective action,

             and appoint DOREEN PRICE as class representative for all those

             similarly situated with the authority to negotiate on behalf all opt in

             plaintiffs; and

      f.     That the Court award any other legal and equitable relief as this Court

             may deem appropriate, fair and just.



                           DEMAND FOR JURY TRIAL

      Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff

demands a trial by jury on all questions of fact raised by this Complaint and on all

other issues so triable.

      Filed January 26, 2023.

                                       Respectfully submitted,

                                       /s/Mitchell Feldman, Esq.
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                                       Attorney for Plaintiff and the class
                                       of similarly situated


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